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UNITED STATES DISTRICT COURT

SS: Wd 92 d3S L002

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

February 2007 Grand Jury

CR 07- 07-01 049

UNITED STATES OF AMERICA,

INDICTMENT

Plaintiff,

Vv. [21 U.S.C. § 846: Conspiracy

)
)
)
)
)
) to Manufacture, Possess with
CHARLES LEROY TWYMAN, ) Intent to Distribute, and
aka “Lee,” and ) Distribute Cocaine Base;
KENNETH BERNARD RILEY, ) 21 U.S.C. §§ 841(a) (1),
aka “Kenny Boy,” ) (b) (1) (A) (112): Distribution
) of Cocaine Base]
Defendants. )
)

 

The Grand Jury charges:
COUNT ONE
[21 U.S.C. § 846]

A. OBJECTS OF THE CONSPIRACY

Beginning on or about September 16, 2005, and continuing to
on or about September 17, 2005, in Los Angeles County, within the
Central District of California, and elsewhere, defendants CHARLES
LEROY TWYMAN, also known as (“aka”) “Lee” (“TWYMAN”) and KENNETH
BERNARD RILEY, aka “Kenny Boy” ("RILEY"), and others known and
unknown to the Grand Jury, conspired and agreed with each other

to knowingly and intentionally (a) manufacture, (b) possess with

 

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intent to distribute, and (c) distribute more than 50 grams of a
mixture or substance containing cocaine base, in the form of
crack cocaine, a Schedule II controlled substance, in violation
of Title 21, United States Code, Section 841(a) (1).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPTRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Defendant TWYMAN would supply cocaine powder to
defendant RILEY.

2. Defendant RILEY would convert the cocaine powder
supplied by defendant TWYMAN into cocaine base, in the form of
crack cocaine.

3. Defendant RILEY would distribute the cocaine base, in
the form of crack cocaine, to a purchasing customer.

Cc. OVERT ACTS

In furtherance of the conspiracy and to accomplish the
objects of the conspiracy, defendants, and others known and
unknown to the Grand Jury, committed various overt acts on or
about the following dates, within the Central District of
California and elsewhere, including but not limited to the
following:

1. On September 16, 2005, in a telephone conversation and
using coded language, defendant RILEY and a confidential source
(“CS”) discussed defendant RILEY supplying cocaine base to the
cs.

2. On September 17, 2005, in a telephone conversation and

using coded language, defendant RILEY and the CS discussed where

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defendant RILEY would deliver the cocaine base to the CS.

3. On September 17, 2005, defendant RILEY met with the CS
at Tin Sings restaurant in Hawthorne, California.

4. On September 17, 2005, during the meeting at Tin Sings
restaurant, defendant RILEY told the CS that defendant RILEY
could deliver nine ounces of cocaine base to the CS, but that the
CS could not watch while defendant RILEY converted cocaine into
the cocaine base.

5. On September 17, 2005, during the meeting at Tin Sings
restaurant, defendant RILEY told the CS that someone had to
deliver the cocaine to defendant RILEY.

6. On September 17, 2005, defendant TWYMAN delivered nine
ounces of cocaine to defendant RILEY.

7. On September 17, 2005, in a telephone conversation and
using coded language, defendant RILEY and the CS discussed the
price for the cocaine base that defendant RILEY would deliver to
the CS.

8, On September 17, 2005, the CS paid defendant RILEY
$4,500 for the cocaine base.

9. On September 17, 2005, in a telephone conversation and
using coded language, defendant RILEY and the CS discussed
defendant RILEY's conversion of the cocaine powder delivered to
defendant RILEY by defendant TWYMAN into cocaine base.

10. On September 17, 2005, defendant RILEY delivered
approximately 248.5 grams of cocaine base, in the form of crack
cocaine, to the CS, and the CS paid defendant RILEY an additional
$1,125 for the cocaine base.

11. On September 17, 2005, in a telephone conversation and

 
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using coded language, defendant RILEY and defendant TWYMAN
discussed the money that defendant RILEY had received from the CS

for the approximately 248.5 grams of cocaine base.

 
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COUNT TWO

[21 U.S.C. §§ 841(a) (1), (b) (1) (A) (111) ]

On or about September 17, 2005, in Los Angeles County,

within the Central District of California, and elsewhere,

defendant KENNETH BERNARD RILEY, also known as “Kenny Boy,”

knowingly and intentionally distributed approximately 248.5 grams

of a mixture or substance containing cocaine base,

crack cocaine, a Schedule II controlled substance.

A TRUE BILL

[s(

in the form of

 

FOREPERSON

GEORGE S. CARDONA
United States Attorney

 

THOMAS P. O'BRIEN
Assistant United States Attorney
Chief, Criminal Division

BONNIE L. HOBBS
Assistant United States Attorney
Violent and Organized Crime Section

 
